       Case 1:09-cr-03078-JB          Document 400         Filed 10/06/11      Page 1 of 22




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                              No. CR 09-3078 JB

JOSHUA JUSTICE,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Amended Objections to Pre-Sentence

Report, filed May 12, 2011 (Doc. 292)(“Objections to PSR”).1 The Court held a sentencing hearing

on May 23, 2011. The primary issue is whether some of Defendant Joshua Justice’s misdemeanor

convictions should be counted in his criminal-history calculation because there is a lack of

information in the record that Justice made an effective and affirmative waiver of his constitutional

right to counsel. Because the Constitution did not require Justice to receive the representation of

counsel for some of these fine-only convictions, and because the state court records indicate Justice

knowingly and intelligently waived his right to counsel for the other charges, the Court will overrule

his objections in part. The Court does not address the other objections contained in the amended

objections.

                               PROCEDURAL BACKGROUND

       Under U.S.S.G. § 4A 1.1.(c), the United States Probation Office (“USPO”) in paragraph 255

       1
        On May 5, 2011, Justice filed his Objections to Pre-sentence Report. See Doc. 287. On
May 12, 2011, Justice withdrew his Objections to Pre-Sentence Report. See Doc. 291. He filed
amended objections on May 12, 2011. See Objections to PSR. This memorandum opinion and
order addresses the amended objections.
       Case 1:09-cr-03078-JB          Document 400        Filed 10/06/11      Page 2 of 22




of the Presentence Investigation Report (“PSR”) assigned 1 criminal-history point based upon

Justice receiving a conviction on a paraphernalia-for-use charge. See PSR ¶ 255, at 42; Addendum

to Presentence Report at 2 (“Addendum to PSR”). Additionally, under U.S.S.G. § 4A1.1(c), the

USPO in paragraph 257 of the PSR assigned 1 criminal-history point based on Justice receiving a

conviction on a driver’s license suspended or revoked charge. See PSR ¶ 277, at 45; Addendum to

PSR at 2. Justice objected to both paragraph 255 and 257 of the PSR on the basis that the record did

not affirmatively demonstrate that he had counsel relating to these charges or that he knowingly

waived his right to counsel. See Objections to PSR ¶¶ 5-19, at 4-7. He contends that, based on this

omission from the record, he should receive a 2 point reduction in his criminal-history-point

calculation, thus reducing his criminal-history category from Category III to Category II.

See Objection to PSR ¶¶ 15-16, at 5-6.

       Paragraph 255 of the PSR discusses four convictions that Justice received. See PSR ¶ 255,

at 42-43. All of the convictions were misdemeanors. See PSR ¶ 255, at 42. Three of the

convictions, concealing identity, paraphernalia for use, and disorderly conduct, related to an arrest

on February 22, 2002. See PSR ¶ 255, at 42. These three convictions resulted in a fine only. See

PSR ¶ 255, at 42. The other conviction resulted from contempt proceedings against Justice arising

out of his failure to pay the fines on the prior three convictions. See PSR ¶ 255, at 42. Justice

received five days of imprisonment based on the contempt charges. See PSR ¶ 255, at 42. The PSR

recognizes that counsel did not represent Justice. See PSR ¶ 255, at 42. The PSR states that it is

standard procedure that New Mexico courts advise the defendant of his or her rights, including his

or her right to counsel, pursuant to a New Mexico statute. See PSR ¶ 255, at 42.

       The Addendum to PSR addresses Justice’s objection to paragraph 255. See Addendum to

PSR at 2-3. The Addendum to PSR states that, on May 13, 2011, the USPO spoke to an employee

                                                -2-
       Case 1:09-cr-03078-JB         Document 400         Filed 10/06/11      Page 3 of 22




at the Farmington Municipal Court. See Addendum to PSR at 2. The Addendum to PSR then

states that the employee informed the USPO that Justice appeared in court on the first three counts.

See Addendum to PSR at 2. Because Justice was not looking at serving a jail sentence on these

charges, no waiver of counsel form was signed. See Addendum to PSR at 2. He was, however,

informed that he could represent himself or hire an attorney. See Addendum to PSR at 2. He was

sentenced to pay a fine on the first three counts. See Addendum to PSR at 2. Because he failed to

pay those fines, Justice later appeared in court again on July 10, 2003 on contempt charges.

See Addendum to PSR at 2. The Addendum to PSR also clarifies that 1 point was applied to

Justice’s criminal-history calculation based on his guilty plea to the paraphernalia-for-use charge.

       With respect to the point for the driver’s license suspended or revoked conviction discussed

in paragraph 257 of the PSR, the USPO concedes that counsel did not represent Justice during these

proceedings. See PSR ¶ 257, at 45. The PSR states that it is standard procedure for these courts to

advise the defendant of his or her rights, including his or her right to counsel, pursuant to a New

Mexico statute. See PSR ¶ 257, at 45. In the Addendum to PSR, the employee to whom the USPO

spoke stated that a waiver of counsel form was signed regarding these proceedings. See Addendum

to PSR at 2. The employee stated, however, that the waiver of counsel form has been destroyed,

because the state court only retains records for a period of three years. See Addendum to PSR at 2.

The USPO attached to the Addendum to PSR a computer screen printout of the relevant records

from the Farmington Municipal Court, which indicates that Justice waived his right to counsel.

See Attachment to Addendum to PSR at 1.

       The Court held a hearing on May 23, 2011. At the hearing, Justice testified regarding these

prior misdemeanor convictions. Regarding the convictions mentioned in paragraph 255 of the PSR,

Justice said that he did not have much memory of the arrest. See Transcript of Hearing at 16:6-11

                                                -3-
       Case 1:09-cr-03078-JB          Document 400         Filed 10/06/11       Page 4 of 22




(taken May 23, 2011)(“Tr.”)(Tallon, Justice).2 He remembered, however, the nature of the charges.

See Tr. at 16:12-15 (Tallon, Justice). Justice testified that he remembered appearing in the

Farmington Municipal Court on those charges. See Tr. at 16:16-18 (Tallon, Justice). He stated that

he did not have any recollection of being advised of a right to have an attorney represent him on any

of those charges. See Tr. at 16:19-21 (Tallon, Justice). He testified that he did not recall being

advised of a right to have counsel appointed for him if he could not afford counsel. See Tr. at 16:22-

24 (Tallon, Justice). He said that he did not recall signing any document indicating that he knew

he had a right to an attorney. See Tr. at 17:12-14 (Tallon, Justice). He further stated that he did not

remember thoughtfully giving up his right to an attorney based on the nature of the court

proceedings; he described them as something like a traffic court where no lawyers were present.

See Tr. at 17:15-18 (Tallon, Justice). He said he did not know of the potential consequences at that

time of entering a guilty plea to the three charges. See Tr. at 17:21-23 (Tallon, Justice).

       Regarding the convictions discussed in paragraph 257 of the PSR, Justice testified that those

charges arose out of his failure to stop at a red light. See Tr. at 18:7-14 (Tallon, Justice). He said

he was arrested and given roughly thirty days in jail. See Tr. at 18:15-18 (Tallon, Justice). He

remembered pleading guilty to the charges. See Tr. at 19:2-4 (Tallon, Justice). He testified that he

was not represented by the public defender or any other attorney. See Tr. at 19:11-13 (Tallon,

Justice). He said he did not recall being advised of having a right to an attorney. See Tr. at 19:23-

20:1 (Tallon, Justice).

                          LAW REGARDING RIGHT TO COUNSEL

       In felony cases, the Constitution requires that an indigent defendant be provided appointed


       2
        The Court’s citations to the transcript of the hearing refers to the court reporter’s original,
unedited version. Any final transcript may contain slightly different page and/or line numbers.

                                                 -4-
       Case 1:09-cr-03078-JB          Document 400        Filed 10/06/11      Page 5 of 22




counsel unless that right is intelligently and competently waived. See Gideon v. Wainwright, 372

U.S. 335, 342-43 (1963). Convictions gained in violation of Gideon v, Wainwright cannot be used

“either to support guilt or enhance punishment for another offense.” Burgett v. Texas, 389 U.S. 109,

115 (1967). In Burgett v. Texas, the Supreme Court of the United States held that a prior conviction

could not be used for sentence enhancement, because the record of the earlier proceeding did not

show that the defendant had waived his right to counsel. See Burgett v. Texas 389 U.S. at 114.

       Furthermore, the Supreme Court has extended these constitutional protections for waiver of

counsel to misdemeanor cases where the court imposed any sentence of actual, probated, or

suspended incarceration. See Alabama v. Shelton, 535 U.S. 654, 661-62 (2002); Argersinger v.

Hamlin, 407 U.S. 25, 33-37 (1972)(holding that misdemeanor status is irrelevant if conviction leads

to imprisonment even for a brief period). In Scott v. Illinois, 440 U.S. 367 (1979), the Supreme

Court held that the Sixth and Fourteenth Amendments do not entitle an indigent defendant to trial

counsel where he was convicted of theft and fined $50 after a bench trial. See 440 U.S. at 367, 368.

The Supreme Court declined to extend Argersinger v. Hamlin to the defendant where he was

“charged with a statutory offense for which imprisonment upon conviction is authorized but not

actually imposed upon the defendant.” Scott v. Illinois, 440 U.S. at 369. The Supreme Court

recognized:

       Even were the matter res nova, we believe that the central premise of Argersinger --
       that actual imprisonment is a penalty different in kind from fines or the mere threat
       of imprisonment is a penalty different in kind from fines or the mere threat of
       imprisonment -- is eminently sound and warrants adoption of actual imprisonment
       as the line defining the constitutional right to appointment of counsel.

Scott v. Illinois, 440 U.S. at 373.

       In Nichols v. United States, 511 U.S. 738 (1994), the Supreme Court held, “consistent with

the Sixth and Fourteenth Amendments of the Constitution, that an uncounseled misdemeanor valid

                                                -5-
       Case 1:09-cr-03078-JB          Document 400         Filed 10/06/11      Page 6 of 22




under Scott because no prison term was imposed, is also valid when used to enhance punishment

at a subsequent conviction.” 511 U.S. at 748. Uncounseled misdemeanor convictions, in which

the court imposes incarceration, are not counted. See United States v. Cousins, 455 F.3d 1116, 1126

(10th Cir. 2006)(“Clarifying the scope of Gideon, the Court later held that an indigent defendant

must be appointed counsel in any criminal prosecution, regardless of its classification as a

misdemeanor or felony, ‘that actually leads to imprisonment even for a brief period . . . .” (quoting

Argersinger v. Hamlin, 407 U.S. at 33)).

       The United States Court of Appeals for the Tenth Circuit in United States v. Cousins

followed the Supreme Court’s decision in Alabama v. Shelton. See 455 F.3d at 1126. In United

States v. Cousins, the defendant, Cousins, disputed the PSR’s criminal-history calculation. See 455

F.3d at 1121, 1126-27. Cousins argued that his prior misdemeanor convictions for receiving stolen

property should not have been included in calculating his criminal history, because he was not

represented by counsel in the prior proceedings and thus counting that conviction violated his Sixth

Amendment right to counsel. See United States v. Cousins, 455 F.3d at 1121, 1126-27.

       [Cousins] was convicted of the misdemeanor offense of receiving stolen goods,
       pursuant to a guilty plea. The written judgment reflects a sentence of 30 days in jail
       or a $500 fine. The word “suspended” is circled. A provision for one month
       unsupervised probation is crossed out. The Government stipulated that the South
       Carolina court effectively imposed a suspended sentence requiring [Cousins] to pay
       the $500 fine or, if he did not, to spend 30 days in jail. There is also no dispute that
       [Cousins] was not represented by an attorney during these proceedings.

455 F.3d at 1124 n.5. The Tenth Circuit reasoned that Cousin’s case was “analogous to Shelton in

the sense that the sentence imposed by the South Carolina court was essentially a suspended

sentence: either Defendant paid the $500 fine or he went to jail for 30 days.” United States v.

Cousins, 455 F.3d at 1126. The Tenth Circuit articulated that, in Alabama v. Shelton, the Supreme

Court “held that a suspended sentence that may end up in actual deprivation of a person’s liberty fit

                                                 -6-
       Case 1:09-cr-03078-JB          Document 400        Filed 10/06/11      Page 7 of 22




under the Argersinger-Scott ‘actual imprisonment’ rule and thus entitled the defendant to the benefit

of counsel.” United States v. Cousins, 455 F.3d at 1126 (quoting Alabama v. Shelton, 535 U.S. at

674). “Therefore, by depriving [Cousins] of the benefit of counsel, South Carolina appears to have

violated [Cousins]’ Sixth Amendment rights.” United States v. Cousins, 455 F.3d at 1126. The

Tenth Circuit then stated that, “[h]aving concluded that the South Carolina conviction violated

[Cousins’] Sixth Amendment rights, we must also conclude that it was error for the district court to

use this conviction in calculating Kurt’s criminal history category.” United States v. Cousins, 455

F.3d at 1127.

       Even when a defendant is convicted of a misdemeanor without the help of counsel which

results in imprisonment or a suspended sentence, a district court can still consider that conviction

for sentencing purposes if the defendant also received a fine as part of the conviction. See United

States v. Jackson, 493 F.3d 1179, 1183 (10th Cir. 2007). Articulating this distinction, the Tenth

Circuit recognized that in the context of the defendant’s conviction in that case:

       On the one hand, [the conviction] includes a conditional prison sentence, something
       that falls on the “actual imprisonment” side of the ledger after Shelton. On the other
       hand, it involves the payment of a fine, something that, under Scott, poses no Sixth
       Amendment problems and, pursuant to Nichols, may be employed as a sentencing
       enhancement.

See United States v. Jackson, 493 F.3d at 1183. The Tenth Circuit recognized that the sentencing

guidelines account for this situation by assigning a relatively low degree of importance to

uncounseled misdemeanor convictions in calculating criminal-history categories. See United States

v. Jackson, 493 F.3d at 1185.

       Thus, there is not a constitutional prohibition against counting some prior misdemeanor

convictions in which the defendant has not been afforded counsel. According to the background

note in U.S.S.G. § 4A1.2, prior sentences, not otherwise excluded, are to be counted in the criminal-

                                                -7-
        Case 1:09-cr-03078-JB          Document 400         Filed 10/06/11      Page 8 of 22




history score. See U.S.S.G. § 4A1.2, cmt. background; United States v. Beltran-Maruffo, No. CR

07-0078 JB, 2007 WL 2219416, at *2 (D.N.M. May 7, 2007)(Browning, J.)(quoting U.S.S.G. §

4A1.2)(“‘Prior sentences, not otherwise excluded, are to be counted in the criminal history score,

including uncounseled misdemeanor sentences where imprisonment was not imposed.’”) The

criminal-history score should include uncounseled misdemeanor sentences where imprisonment was

not imposed. See U.S.S.G. § 4A1.2, cmt. background.

              CHALLENGES TO PRIOR CONVICTIONS AT SENTENCING

       In Custis v. United States, 511 U.S. 485 (1994), the Supreme Court found that, for purposes

of the penalty enhancements for prior convictions that the Armed Career Criminal Act of 1984, 18

U.S.C. § 924(e), imposes, a defendant in a federal sentencing proceeding has no right to collaterally

attack the validity of his previous state convictions, with the sole exception of convictions obtained

in violation of the right to counsel. See Custis v. United States, 511 U.S. at 487. The Supreme

Court explained: “There is thus a historical basis in our jurisprudence of collateral attacks for

treating the right to have counsel appointed as unique, perhaps because of our oftstated view that

‘the right to be heard would be, in many cases, of little avail if it did not comprehend the right to be

heard by counsel.’” 511 U.S. at 494-95 (quoting Powell v. Alabama, 287 U.S. 45 (1932)). In

Burgett v. Texas, 389 U.S. 109 (1967), the Supreme Court held that the admission of a prior criminal

conviction that is constitutionally infirm under the standards of Gideon v. Wainwright is inherently

prejudicial and to permit use of such a tainted prior conviction for sentence enhancement would

undermine the principle of Gideon v. Wainwright. See Burgett v. Texas, 389 U.S. at 115 (“Worse

yet, since the defect in the prior conviction was denial of the right to counsel, the accused in effect

suffers anew from the deprivation of that Sixth Amendment right.”).

       In United States v. Garcia, 42 F.3d 573 (10th Cir. 1994), the Tenth Circuit, relying upon the

                                                  -8-
       Case 1:09-cr-03078-JB           Document 400         Filed 10/06/11       Page 9 of 22




Supreme Court’s holding in Custis v. United States, held that, in a sentencing proceeding under the

guidelines, a defendant may not collaterally attack a prior conviction except on the ground of a

complete denial of counsel. See 42 F.3d at 581. The Tenth Circuit has since consistently held that,

with the exception of a collateral attack based on complete denial of counsel, a district court cannot

consider a collateral attack on a prior conviction when sentencing a defendant. In United States v.

Cousins, 455 F.3d 1116 (10th Cir. 2006), the Tenth Circuit stated:

       [A]n exception to this general rule [barring collateral attacks of prior convictions]
       at sentencing is that challenges to the constitutionality of a conviction based upon a
       violation of the right to counsel are permitted in sentencing proceedings, even though
       the defendant is attacking the prior state conviction collaterally in federal court.

455 F.3d at 1125.      See United States v. Delacruz-Soto, 414 F.3d 1158, 1167 (10th Cir.

2005)(holding that, “with the exception of a collateral attack based on the complete denial of

counsel, a district court sentencing a defendant under 8 U.S.C. § 1326(b)(2) and U.S.S.G. §

2L1.2(b)(1)(A) cannot consider a collateral attack on a prior conviction.”); United States v. Cruz-

Alcala, 338 F.3d at 1197 (stating the holding of United States v. Garcia).

       1.      Waiver of the Right to Counsel.

        It is well established that a defendant has a constitutional right to waive his right to counsel.

See United States v. Molina-Barajas, 47 F.App’x 552, 555 (10th Cir. 2002)(citing United States v.

Windle, 74 F.3d 997, 1001 (10th Cir.1996)). If a defendant validly waives his right to counsel, the

waiver precludes the defendant from collaterally attacking the conviction. See United States v.

Molina-Barajas, 47 F.App’x at 555 (“Further, if defendant entered into a valid waiver [of his right

to counsel], the waiver precludes him from collaterally attacking the California conviction.” (citing

United States v. Windle, 74 F.3d at 1001)).

       The Tenth Circuit has consistently held that:


                                                  -9-
          Case 1:09-cr-03078-JB        Document 400         Filed 10/06/11      Page 10 of 22




          A defendant’s waiver of his right to counsel is valid only if it is knowing and
          intelligent; the waiver is knowing and intelligent only if the trial court informs the
          defendant on the record of the nature of the charges against him, the possible
          punishments and defenses, and the dangers and disadvantages of self-representation.

Munkus v. Furlong, 170 F.3d 980, 983 (10th Cir. 1999)(citations omitted). See United States v.

Willie, 941 F.2d 1384, 1388 (10th. Cir. 1991)(“[T]o be valid, the trial judge must ensure that the

waiver . . . is an intentional relinquishment . . . of a known right . . . . Ideally, . . . the record

[should] demonstrate that the defendant [knows] the nature of the charges, the range of allowable

punishments and possible defenses, and . . . the risks of proceeding pro se.” (internal quotation

marks and citations omitted)); United States v. Silkwood, 893 F.2d 245, 248 (10th Cir. 1989)(stating

that for a waiver of counsel to be knowing and intelligent, the court must conduct a “comprehensive

examination into the defendant’s apprehension of the nature of the charges, the statutory offenses

included within them, the range of allowable punishments thereunder, possible defenses to the

charges and circumstances in mitigation thereof, and all other facts essential to a broad

understanding of the whole matter.” (citations omitted)(internal quotation marks omitted)).

          2.     Presumption of Regularity.

          The Supreme Court has held that there is a “‘presumption of regularity’ that attaches to final

judgments, even when the question is waiver of constitutional rights.” Parke v. Raley, 506 U.S. 20,

29 (1992)(quoting Johnson v. Zerbst, 304 U.S. 458, 464 (1938)). In Parke v. Raley, the defendant,

who was charged as a persistent felony offender, argued that two of the convictions offered against

him were invalid under Boykin v. Alabama, 395 U.S. 238 (1969), because the records for the

convictions did not contain transcripts of the plea proceedings and therefore did not affirmatively

show that his guilty pleas were knowing and voluntary. See 506 U.S. at 23. The Supreme Court

stated:


                                                  -10-
          Case 1:09-cr-03078-JB         Document 400        Filed 10/06/11       Page 11 of 22




          On collateral review, we think it defies logic to presume from the mere unavailability
          of a transcript (assuming no allegation that the unavailability is due to governmental
          misconduct) that the defendant was not advised of his rights. In this situation,
          Boykin does not prohibit a state court from presuming, at least initially, that a final
          judgment of conviction offered for purposes of sentence enhancement was validly
          obtained.

Parke v. Raley, 506 U.S. at 30. The Supreme Court thus found that, “even when a collateral attack

on a final conviction rests on constitutional grounds, the presumption of regularity that attaches to

final judgments makes it appropriate to assign a proof burden to the defendant.” Parke v. Raley, 506

U.S. at 31 (citation omitted).

          3.     Overcoming the Presumption of Regularity.

          The Tenth Circuit in United States v. Duarte-Gutierrez, 129 F.App’x 440 (10th Cir. 2005)

stated:

          Once the existence of a conviction is established, the presumption of regularity
          attaches and we assume that the convicting court complied with the law in all
          respects, including the requirements for establishing a waiver of the right to counsel.
          The government is not required to offer any evidence of compliance; Defendant must
          prove noncompliance.

129 F.App’x at 443. “To overcome this presumption and bar the use of a prior conviction for

sentence enhancement, the defendant must prove by a preponderance of the evidence that the

conviction was constitutionally infirm.” United States v. Krejcarek, 453 F.3d 1290, 1297 (10th Cir.

2006)(citing United States v. Windle, 74 F.3d 997, 1001 (10th Cir. 1996)). See United States v.

Cruz-Alcala, 338 F.3d 1194, 1197 (10th Cir. 2003)(“Once the prosecution establishes the existence

of a conviction, the defendant must prove by a preponderance of the evidence that the conviction

was constitutionally infirm.” (emphasis in original)(internal quotation marks omitted)).

          “[A] defendant may not simply point to a silent or ambiguous record, but must come forward

with affirmative evidence establishing that the prior convictions were obtained in violation of the


                                                   -11-
       Case 1:09-cr-03078-JB         Document 400        Filed 10/06/11      Page 12 of 22




Constitution.” United States v. Cruz-Alcala, 338 F.3d at 1197. “Self-serving statements by a

defendant that his conviction was constitutionally infirm are insufficient to overcome the

presumption of regularity accorded prior convictions.” United States v. Krejcarek, 453 F.3d at 1297

(quoting Cuppett v. Duckworth, 8 F.3d 1132, 1139 (7th Cir. 1993)(en banc)). See United States v.

Wicks, 995 F.2d 964, 978 (10th Cir. 1993)(“Self-serving conclusory statements would be

unavailing, of course.”). In addition, “[t]he fact one jurisdiction may utilize a different docketing

or record keeping system than another does not prove by a preponderance of the evidence [that the

defendant] did not waive his right to counsel.” United States v. Sanchez, 230 F. App’x 803, 807-08

(10th Cir. 2007).

       In United States v. Wicks, the Tenth Circuit found that the defendant did not prove by a

preponderance of the evidence that his “guilty pleas were actually involuntary or unknowing.” 995

F.2d at 978 (emphasis in original). The defendant did not submit proof that his plea was unknowing

or involuntary -- except for proof that there was an incomplete record of the plea proceedings in

state court. See United States v. Wicks, 995 F.2d at 979. The Tenth Circuit stated:

       At a minimum, . . . a defendant pointing to a silent or missing record of a prior plea
       proceeding must begin by also submitting an affidavit or its equivalent asserting that
       the defendant’s plea was in fact not voluntary or was lacking the necessary
       understanding, and specifying in detail the factual support for such assertion.
       Self-serving statements would be unavailing, of course. Affidavits or testimony by
       judges, government and defense attorneys, probation officers, and others involved
       in and knowledgeable about the challenged proceedings, and directly supporting the
       defendant's position, would be probative.

United States v. Wicks, 995 F.2d at 978-79. The facts available to the Tenth Circuit showed that

counsel represented the defendant, which the Tenth Circuit stated “strongly suggests an informed

and voluntary plea.” United States v. Wicks, 995 F.2d at 979. The Tenth Circuit found that the

defendant’s pleas were voluntary and knowing, based on the evidence before it and on the


                                                -12-
       Case 1:09-cr-03078-JB          Document 400         Filed 10/06/11       Page 13 of 22




defendant’s failure to prove that his guilty pleas were unknowing and involuntary. See United States

v. Wicks, 995 F.2d at 979.

       In United States v. Quintana-Ponce, 129 F. App’x 473 (10th Cir. 2005), the Tenth Circuit

found that the defendant did not meet his burden to overcome the presumption of regularity.

See 129 F.App’x at 475. At his sentencing, the defendant offered testimony that he was not

represented by counsel and did not knowingly waive his right to counsel in the state court

proceedings at issue. See United States v. Quintana-Ponce, 129 F.App’x at 475. After considering

the defendant’s testimony, the district court implicitly found he was not credible and ruled that he

had validly waived his right to counsel in the earlier cases, stating: “[T]aking [the defendant’s]

proffer at face value and weighing that against his significant history associated with the criminal

courts in that area . . . I don’t believe that he has overcome the presumption of regularity that

attaches to final Judgments.” United States v. Quintana-Ponce, 129 F.App’x at 475 (quoting the

district court sentencing transcript). The Tenth Circuit deferred to the district court’s credibility

determination and found no error in the district court considering the conviction in the defendant’s

criminal history. See United States v. Quintana-Ponce, 129 F.App’x at 475.

       In United States v. Cruz-Alcala, the Tenth Circuit found that the defendant “failed to

establish that his prior . . . convictions [were] constitutionally infirm.” 338 F.3d at 1197. The record

contained waiver forms for the defendant’s convictions, which stated that the defendant understood

that he had the right to be represented, and that he understood the dangers and disadvantages of

giving up his right to a lawyer. See United States v. Cruz-Alcala, 338 F.3d at 1198. The defendant

had initialed the waiver forms, and a translator had signed the forms, verifying that she translated

the forms to the defendant. See United States v. Cruz-Alcala, 338 F.3d at 1198. In addition, the

judge signed the forms, stating that the court reviewed the forms and found that the defendant

                                                 -13-
      Case 1:09-cr-03078-JB         Document 400         Filed 10/06/11      Page 14 of 22




“expressly, knowingly, understandingly and intelligently waived his . . . constitutional rights.”

United States v. Cruz-Alcala, 338 F.3d at 1198. The defendant’s

       evidence that he did not waive his right to counsel in the prior proceedings consisted
       solely of his testimony at the sentencing hearing that he had neither seen nor signed
       the waiver forms for the DUI convictions (although he admitted he was guilty of
       those offenses and had used the name “Modesto Martinez” in the DUI proceedings);
       that an interpreter had never read those documents to him; and that no one had ever
       told him that he had the right to the assistance of counsel in the DUI cases.
       Defendant did not testify at all about the waiver of rights at the proceeding for the
       petty-theft conviction. After hearing all the evidence, the district court found that
       Defendant's testimony was not credible, and ruled that Defendant had validly waived
       his right to counsel in the earlier cases.

United States v. Cruz-Alcala, 338 F.3d at 1198. The Tenth Circuit deferred to the district court’s

credibility determination, and upheld the district court’s use of the convictions to enhance the

defendant’s sentence. See United States v. Cruz-Alcala, 338 F.3d at 1198.

                                           ANALYSIS

       Justice argues that the Court should subtract 2 criminal-history points from the 5 currently

attributed to him, which would reduce his criminal-history category from Category III to Category

II. See Objections to PSR ¶¶ 15-16, at 5-6. Justice bases his objection on a lack of information in

the PSR to support that he made an effective and affirmative waiver of his constitutional right to

counsel with reference to the misdemeanor pleas described in paragraphs 255 and 257 of the PSR.

Justice contends that, based upon the information available from the Farmington Municipal Court,

there is no evidence to support a waiver of counsel in either case. Justice states that there is no

affirmative indiction that he waived his rights. See Objections to PSR ¶ 14, at 5 (citing Brewer v.

Williams, 430 U.S. 387, 402 (1977)). He maintains that those court records contain no affirmative

evidence to support an assertion of waiver, but only a suggestion that a waiver may have occurred

based upon an assumption of procedural regularity in that court. See Objections to PSR ¶¶ 14, at


                                               -14-
       Case 1:09-cr-03078-JB          Document 400          Filed 10/06/11      Page 15 of 22




5. Justice states that it cannot be said that the United States has met its “heavy burden” of showing

Justice’s knowing and intelligent waiver of Sixth Amendment rights. Objections to PSR ¶ 14, at 5

(quoting Brewer v. Williams, 430 U.S. at 403). Therefore, according to Justice, the Court should

order subtraction of 2 criminal-history points and a recalculation of his criminal-history category

from Category III to Category II. After careful consideration of the law and of the facts, the Court

will overrule Justice’s objections to the calculation of his criminal-history category.

I.      THE COURT WILL OVERRULE JUSTICE’S OBJECTION TO PARAGRAPH 255
        ON PAGE 42 OF THE PSR.

        In his objection to paragraph 255 of the PSR, Justice requests that the Court subtract 1

criminal-history point, reducing his total from 5 to 4. See Objections to PSR ¶ 15, at 5. He

maintains that there is no documentary evidence to support his waiver of his right to counsel at the

time of his May 22, 2002 plea. See Objections to PSR ¶ 14, at 5. He further contends that there is

no proof of a standard procedure employed by an unnamed judge of the Farmington Municipal

Court which supports by a preponderance of the evidence the argument that there was a knowing,

intelligent, and voluntary waiver of his constitutional right to counsel. See Objections to PSR ¶ 15,

at 5. Justice states that, on this date and without the assistance of counsel, he pled guilty to all four

counts charged in this Municipal Court complaint.

        Paragraph 255 of the Presentence Report assigns one point for Justice’s criminal history.

See PSR ¶ 255, at 42-43. Paragraph 255 references four of Justice’s prior misdemeanor convictions.

See PSR ¶ 255, at 42. Three of the convictions, concealing identity, paraphernalia for use, and

disorderly conduct, related to an arrest on February 22, 2002. See PSR ¶ 255, at 42. These

convictions resulted in a fine only. See PSR ¶ 255, at 42. The other conviction resulted from

contempt proceedings against Justice, which resulted in five days of imprisonment. See PSR ¶ 255,


                                                  -15-
       Case 1:09-cr-03078-JB         Document 400         Filed 10/06/11      Page 16 of 22




at 42. The PSR recognizes that Justice was not represented by counsel in this case. See PSR ¶ 255,

at 42. The PSR states that it is standard procedure for New Mexico courts to advise the defendant

of his or her rights, including his or her right to counsel, pursuant to a New Mexico statute. See PSR

¶ 255, at 42.

       The Addendum PSR addresses Justice’s objection. See Addendum to PSR at 2-3. The

Addendum to PSR states that, on May 13, 2011, the USPO spoke to an employee at the Farmington

Municipal Court.     See Addendum to PSR at 2.         The Addendum to PSR then states that the

employee informed the USPO that Justice appeared in court on the first three counts.

See Addendum to PSR at 2. Because Justice was not looking at serving a jail sentence on these

charges, no waiver of counsel form was signed. See Addendum to PSR at 2. He was, however,

informed that he could represent himself or hire an attorney. See Addendum to PSR at 2. He was

sentenced to pay a fine on the first three counts. See Addendum to PSR at 2. Because he failed to

pay those fines, Justice later appeared in court on July 10, 2003 on contempt charges.

See Addendum to PSR at 2. The Addendum to PSR also clarifies that 1 point was applied to

Justice’s criminal-history calculation based on his guilty plea to the paraphernalia-for-use charge.

See Addendum to PSR at 2.3 The Addendum to PSR does not specify the circumstances of Justice’s


       3
          U.S.S.G. § 4A1.1(c) states that, in calculating the criminal-history category a court should
add 1 point for each prior sentence not counted in subsection (a) or (b) -- in other words sentences
less than sixty days -- up to a total of 4 points. See U.S.S.G. § 4A1.1(c). U.S.S.G. § 4A1.2(a)(1)
defines prior sentence as “any sentence previously imposed upon adjudication of guilt, whether by
guilty plea, trial, or plea of nolo contendere, for conduct not part of the instant offense.” U.S.S.G.
§ 4A1.2(a)(1). The background note to U.S.S.G. § 4A1.1(c) further clarifies that subsections (a)-(c)
in this section “distinguish confinement sentences longer than one year and one month, shorter
confinement sentences of at least sixty days, and all other sentences, such as confinement sentences
of less than sixty days, probation, fines, and residency in a halfway house.” U.S.S.G. § 4A1.1 cmt.
background. The background note to 4A1.2 also states: “Prior sentences, not otherwise excluded,
are to be counted in the criminal-history score, including uncounseled misdemeanor sentences where
imprisonment was not imposed.” U.S.S.G. § 4A1.2 cmt. background. As the Tenth Circuit has

                                                -16-
       Case 1:09-cr-03078-JB          Document 400        Filed 10/06/11       Page 17 of 22




representation of counsel for his contempt charges. See Addendum to PSR at 2.

       When a defendant receives no punishment for a charged crime other than a fine, he has no

constitutional right to counsel during the proceedings related to that charge. See Nichols v. United

States, 511 U.S. at 748. Here, the New Mexico court did not impose any other penalty on Justice

for the paraphernalia-for-use charge other than a fine. See PRS ¶ 255, at 42; Addendum to PSR at

2. Thus, the New Mexico court had no obligation to appoint counsel for Justice or to inquire

whether he intended to waive his right to counsel. See Nichols v. United States, 511 U.S. at 748.

Furthermore, the contempt proceedings that arose out of Justice’s failure to pay his fine for these

three convictions involved a separate charge independent from the underlying convictions.

See United States v. Cousins, 455 F.3d at 1126. Contempt proceedings are distinct from a

suspended sentence on a charge. See United States v. Cousins, 455 F.3d at 1126. In United States

v. Cousins, the Tenth Circuit found that the state trial court had imposed an unconstitutionally infirm

sentence by sentencing the defendant to thirty days imprisonment or to pay a $500 fine without

providing him assistance of counsel. 455 F.3d at 1126. The Tenth Circuit found the case

“analogous to Shelton in the sense that the sentence imposed by the South Carolina court was

essentially a suspended sentence: either Defendant paid the $500 fine or he went to jail for 30 days.”

United States v. Cousins, 455 F.3d at 1126. Here, the contempt charge did not arise until over a year

after the first three charges. See Addendum to PSR at 2. Furthermore, the charge related to

Justice’s failure to pay his fines rather than the conduct which originally resulted in the three

convictions. See Addendum to PSR at 2. There is no indication that the state court intended to


recognized, “the Sentencing Commission was well aware of the prevalence of uncounseled
misdemeanor convictions and sought to modulate their effect on federal sentences” within the
guidelines by limiting the number that a court could consider in the criminal-history calculation to
four. United States v. Jackson, 493 F.3d at 1185.

                                                 -17-
       Case 1:09-cr-03078-JB           Document 400          Filed 10/06/11       Page 18 of 22




impose a sentence of imprisonment as part of its original decision to fine Justice. See Addendum

to PSR at 2.

        Furthermore, criminal contempt is a separate offense under federal law. See 18 U.S.C.

§ 401(3) (“A court of the United States shall have power to punish by fine or imprisonment, or both,

at its discretion, such contempt of its authority, and none other, as -- . . . Disobedience or resistance

to its lawful writ, process, order, rule, decree, or command.”).4 The sentencing guidelines contain

a separate provision that addresses contempt, telling courts to look to the most analogous offense

based on the nature of the defendant’s conduct. See U.S.S.G. § 2J1.1. The sentencing guidelines

further state:

        Because misconduct constituting contempt varies significantly and the nature of the
        contemptuous conduct, the circumstances under which the contempt was committed,
        the effect the misconduct had on the administration of justice, and the need to


        4
         Although contempt charges could under some circumstances violate the Double Jeopardy
Clause if the contempt charge and a separate offense fail the Blockburger v. United States test,
Justice has not raised a double-jeopardy challenge. See United States v. Dixon, 509 U.S. 688, 695-
97 (1993). Furthermore, he may not do so during these sentencing proceedings based on Custis v.
United States. See 511 U.S. at 492-96 (“Custis invites us to extend the right to attack collaterally
prior convictions used for sentence enhancement beyond the right to have appointed counsel
established in Gideon. We decline to do so.”). Although the Tenth Circuit has recognized that an
appellate court may properly consider the failure to raise a double-jeopardy challenge under the
plain error standard, it has not characterized a double-jeopardy defect as jurisdictional. See United
States v. 9844 S. Titan Court, Unit 9, Littleton, Colo., 75 F.3d 1470, 1482 (10th Cir. 1996),
overruled on other grounds by United States v. Ursery, 518 U.S. 267 (1996). A defendant may
challenge prior convictions during sentencing proceedings on the basis that the prior conviction
suffers from a jurisdictional defect -- a defect relating to the jurisdiction of the court that entered the
conviction. See Reed Elsevier, Inc. v. Muchnick, 130 S.Ct. 1237, 1243 (2010)(“‘Jurisdiction’ refers
to ‘a court's adjudicatory authority.’ Accordingly, the term ‘jurisdictional’ properly applies only to
‘prescriptions delineating the classes of cases (subject-matter jurisdiction) and the persons (personal
jurisdiction)’ implicating that authority.” (citations omitted)); Custis v. United States, 511 U.S. at
493-96 (noting that, applying “a somewhat expansive notion of ‘jurisdiction,’” the Supreme Court
has “attributed jurisdictional significance to the failure to appoint counsel”). Following Custis v.
United States, the United States Court of Appeals for the Fifth Circuit did not allow a defendant to
raise a double-jeopardy challenge in the context of a sentencing enhancement. See United States
v. Gonzales, 79 F.3d 413, 426-27 (5th Cir. 1996).

                                                   -18-
       Case 1:09-cr-03078-JB         Document 400         Filed 10/06/11      Page 19 of 22




       vindicate the authority of the court are highly context-dependent, the Commission
       has not provided a specific guideline for this offense. In certain cases, the offense
       conduct will be sufficiently analogous to § 2J1.2 (Obstruction of Justice) for that
       guideline to apply.

See U.S.S.G. § 2J1.1 cmt. n.1. Another application note states that offenses involving the willful

failure to pay court-ordered child support in violation of 18 U.S.C. § 228 are most analogous to the

guideline for theft, property destruction, and fraud. See U.S.S.G. § 2J1.1 cmt. n.2. Criminal

contempt is also a separate offense under New Mexico law:

       It shall be within the power of each and every presiding officer of the several courts
       of this state, whether of record or not of record, to preserve order and decorum, and
       for that purpose to punish contempts by reprimand, arrest, fine or imprisonment,
       being circumscribed by the usage of the courts of the United States.

N.M.S.A. 1978, § 34-1-2. The Supreme Court of New Mexico has recognized that a court’s power

to punish for contempt is one of its inherent powers even in the absence of an applicable statute.

See Case v. State, 103 N.M. 501, 502, 709 P.2d 670, 672 (1985). The sentence for contempt is

likewise discretionary with the court, unlike a fixed statutory sentence. See Case v. State, 103 N.M.

at 503, 709 P.2d at 673.

       Thus, because the PSR relies only on the paraphernalia-for-use charge as part of its criminal-

history calculation, Justice’s objection lacks a sound basis, because he received only a fine for that

conviction. Even if Justice was constitutionally deprived of counsel for his contempt charge, that

deprivation would not be relevant because the PSR does not use that conviction in its criminal-

history calculation. Furthermore, a 1 point reduction alone would not reduce his criminal-history

category from Category III to Category II. See Addendum to PSR at 3. Consequently, the Court

overrules Justice’s objection to paragraph 255 of the PSR.




                                                -19-
       Case 1:09-cr-03078-JB          Document 400        Filed 10/06/11       Page 20 of 22




II.    THE COURT WILL OVERRULE JUSTICE’S OBJECTION TO PARAGRAPH 257
       ON PAGE 45 OF THE PSR.

        Based on a separate alleged violation of his right to counsel, Justice requests that the Court

subtract 1 criminal-history point, reducing his total from 5 to 4. See Objections to PSR ¶ 16, at 6.

He maintains that there is no documentary evidence to support his waiver of his right to counsel at

the time of his May 4, 2005 plea. See Objections to PSR ¶ 16, at 6. He further contends that there

is no proof of a standard procedure employed by an unnamed judge of the Farmington Municipal

Court which supports by a preponderance of the evidence the argument that there was a knowing,

intelligent, and voluntary waiver of his constitutional right to counsel. See Objections to PSR ¶ 14,

at 5. In his Objections to PSR, Justice states that, on May 4, 2005 without the assistance of counsel,

Justice pled guilty to all three counts charged in this Municipal Court complaint. See Objections

to PSR ¶ 17, at 6.

       In the PSR, the USPO concedes that Justice was not represented by counsel during these

proceedings. See PSR ¶ 257, at 45. The PSR states that it is standard procedure for New Mexico

courts to advise the defendant of his or her rights, including his or her right to counsel, pursuant to

a New Mexico statute. See PSR ¶ 257, at 45. In the Addendum to PSR, the employee whom the

USPO spoke to on May 13, 2011 stated that Justice signed a waiver-of-counsel form relating to

these proceedings. See Addendum to PSR at 2. The employee stated, however, that the actual

waiver of counsel form has been destroyed, because the state court retains records for a period of

only three years. See Addendum to PSR at 2. The USPO attached to the Addendum to PSR a

computer screen printout of the relevant records from the Farmington Municipal Court that indicate

Justice waived his right to counsel. See Attachment to Addendum to PSR at 1.

       Although Justice testified that he did not recall being advised of having a right to an attorney


                                                 -20-
       Case 1:09-cr-03078-JB         Document 400        Filed 10/06/11      Page 21 of 22




during these proceedings, see Tr. at 19:23-20:1 (Tallon, Justice), the court records attached to the

Addendum to PSR indicate that he waived his right to counsel during these proceedings,

see Attachment to Addendum to PSR at 1. Without these court records and the statements from the

employee whom the USPO spoke with regarding Justice’s waiver of his right to counsel, his

testimony might have been sufficient to rebut the presumption of regularity that attaches to final

judgments. See United States v. Krejcarek, 453 F.3d at 1297; United States v. Cruz-Alcala, 338

F.3d at 1197. Although this evidence from the USPO is hearsay, a court may under appropriate

circumstances consider hearsay during sentencing. See United States v. Beaulieu, 893 F.2d 1177,

1179 (10th Cir. 1990)(holding that reliable hearsay may be used in sentencing under the guidelines);

United States v. Cunningham, No. CR 06-2493, 2008 WL 6049940, at *13 (D.N.M. Oct.28, 2008)

(Browning, J.)(“[T]he Court may rely on hearsay at sentencing so long as it has sufficient indicia

of reliability to support its probable accuracy.” (alteration in original)(internal quotation marks

omitted)). As U.S.S.G. § 6A1.3 states: “In resolving any dispute concerning a factor important to

the sentencing determination, the court may consider relevant information without regard to its

admissibility under the rules of evidence applicable at trial, provided that the information has

sufficient indicia of reliability to support its probable accuracy.” U.S.S.G. § 6A1.3. Likewise,

Confrontation Clause protections do not apply in the sentencing context. See United States v.

Bustamante, 454 F.3d 1200, 1202-03 (10th Cir. 2006)(recognizing that Crawford v. Washington

does not apply to sentencing proceedings).

       There is no indication that the computer screen printout from the state court is not an

accurate representation of that court’s records. There do not appear to be any alternations or other

circumstances indicating that the printout is not authentic. Thus, the Court considers the evidence

to be reliable. Consequently, based on the evidence contained in the attachment to the Addendum

                                                -21-
      Case 1:09-cr-03078-JB          Document 400      Filed 10/06/11      Page 22 of 22




to PSR, the Court concludes that Justice knowingly waived his right to counsel for these charges.

Thus, the Court will overrule his objection to paragraph 257 of the PSR.

       IT IS ORDERED that Justice’s objections to his criminal-history calculation in paragraph

255 and 257 of the PSR, as stated in the Amended Objections to Pre-Sentence Report, filed May 12,

2011 (Doc. 292), are overruled. The Court does not address the other objections contained in the

amended objections.



                                                         ________________________________
                                                         UNITED STATES DISTRICT JUDGE

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                                              -22-
